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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

DEBRA HATTEN-GONZALES, et al.,

         Plaintiffs,

vs.                                                     No. CIV 88-0385 KG/CG
                                                        Consolidated with
                                                        No. CIV-88-0786 KG/CG

BRENT EARNEST, Secretary of the
New Mexico Human Services Department,

         Defendant.


                                     JOINT STATUS REPORT

On May 18, 2018, the parties in this matter held a Meet and Confer pursuant to this Court’s Orders.
Secretary Brent Earnest, Deputy Secretary Christopher Collins, Income Support Division (ISD)
Deputy Director Judy Parks, and other staff from ISD were in attendance. Sovereign Hager and
Maria Griego attended on behalf of the Plaintiffs. Special Master Lawrence Parker and
Compliance Specialist Ramona McKissic were also in attendance. Below is a summary of the
matters addressed by the parties and the Special Master in the Meet and Confer, including each
party’s respective position on the matter and any documented agreements or outcomes.

1) Experts Required by Doc. 836: Defendant stated that HSD is still trying to determine the
   best way to bring on experts. Defendant believes it is particularly important that the immigrant
   eligibility expert be a permanent, classified position for the Department. The SNAP and
   Medicaid experts will likely serve as experts in a time limited role (e.g., as an appointment for
   the duration of the Order and Decree). The additional assignments will bolster the
   Department’s expertise in these areas, but over the long term, such expertise should continue
   to             reside            in             the             respective              divisions.

      An appointed expert could only serve through the end of the current administration unless the
      new Governor decides to retain the appointee. The other option Defendant is considering is to
      redefine a job currently held a classified employee to be that of the expert. If HSD chooses to
      use a current employee, the duties the employee will have in the new role must be a logical
      outgrowth of the employee’s duties in his/her current role. HSD is currently working on
      identifying possible candidates to serve in all expert roles and is writing job descriptions. The
      Special Master emphasized that the appointment/hiring decisions need to be made quickly.
      The Special Master suggested that the Department assign current employees to fill these

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    positions temporarily until the positions can be filled permanently. He recommended that the
    Department look to national organizations for help identifying qualified individuals for the
    positions.

2) Notice of Case Action (NOCA):
   a. Plaintiffs’ counsel requested that HSD provide information on all work requests (WRs) and
   change requests (CRs) to the NOCA on March 28, 2018. Plaintiffs’ specifically requested
   documentation of CRs and WRs associated with the NOCA after December 31, 2017. HSD
   stated that the tracking system is a compilation of tickets and work requests that are submitted
   by staff. The report only provides a summary of the work request and requires each to be
   reviewed to determine the nature of the work request (new functionality or issue). The
   Department stated that it was able to compile a report with all CRs and WRs that have been
   implemented or are in the queue since January 1, 2018. HSD provided that report to Plaintiffs
   on May 18, 2018. HSD explained that CR and WR do not necessarily mean there is a change
   to take place. The CR and WR are analyzed to determine if the change is necessary.

    b. Plaintiffs also alerted the Department to two additional concerns regarding the NOCA. First,
    for people who receive the NOCA following an automatic renewal of Medicaid, the notice
    Trigger #71a populates on the NOCA. This trigger explains to the individual that their
    Medicaid has been renewed based on information that was on file and from other data sources
    and tells them to inform the Department if the information is wrong in one of several ways.
    The highlighted text in Trigger #71a, below, identifies the additional language that needs to be
    changed to ensure the information is clear to the recipient. The current language directs the
    individual to “mail this form to” instead of directing them to “mail the information to”.
    Plaintiffs identified this similar text on the HUMAD, which the Department updated on May
    28, 2018. The Department is reviewing other notices that utilize this standard text to identify
    if a change is needed.

 Trigger     Programs/COEs                 Case Action                                                Eligibility Results
 #
 71a         All Medicaid and MSP          Recertification (only for auto-renewal, successful ex
                                                                                              Ongoing – approved
             COEs                          parte renewal and administrative renewal)          for some or all
                                                                                              members.
ISD renewed Medicaid for your household members. We did not need more information from you. We counted your
household size and got income from your case file and other data sources. This is called an Administrative Renewal.

If the information in the table at the end of this letter is correct, you do not have to do anything. If the information is
wrong or has changed, tell us in one of these ways:

                                                                  Income Support Division
                      Mail this form to:                          Central ASPEN Scanning Area
                                                                  P O Box 830 Bernalillo, NM 87004-0015



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                 Fax to:                             (855) 804-8960

                                                     (800) 283-4465
                 Call the Income Support Customer
                                                     Monday-Friday, 8 am to 5 pm
                 Service Center Toll Free at:
                                                     The call is free.

                 Submit online at:                   https://www.yes.state.nm.us/

                                                     ISD Field office name
                 In person at the ISD office.        ISD Field office address




c. Plaintiffs also alerted HSD that NOCAs which Plaintiffs’ Counsel has received for clients do
not include a calculation table. When Plaintiffs raised this issue last year, Defendant informed
Plaintiffs’ Counsel that the NOCA did not contain a calculation table for authorized representatives
who receive the notice and HSD stated that there were plans to fix that problem. HSD agreed to
investigate the current status of the calculation table and when it is programmed to appear in
eligibility notices. HSD has reviewed the NOCA storyboard and confirmed that the calculation
tables are not currently being generated on the NOCA that is sent to the authorized representative.
HSD is currently working with Deloitte to have these changes implemented into the NOCA. A
release date will be provided once determined. Plaintiffs are concerned that after reporting this
exact issue to Defendant in February of 2017, Defendant reported that it would be fixed when the
new NOCA was released in 2018. See p. 24 of Doc. 771.

3) Help Us Make a Decision (HUMAD) verification request form and Verification Check
   List (VCL):

a. The HUMAD is scheduled for a revision (version 4.2.2.) in August 2018. Revision 4.2.2 will
include the following changes: 1) specific types of unearned income will be requested from
applicants and the notice will include more specific examples of documents the applicant can
provide to verify the different types of unearned income, and 2) a new sentence “[p]roofs given
may be used for more than one program” will be added as standard text towards the end of the
notice. Plaintiffs requested information regarding how the HUMAD is populated when the
Department receives information it determines “questionable” and which fields on the notice
require a worker to enter information and which fields are populated automatically. HSD stated
that the Trigger #8 is used on the HUMAD when information is questionable. HSD staff stated
that workers manually enter information in the “reason for questionable verification” column and
determine how the examples of proof are populated based on the type of verification that is needed.
HSD agreed to verify that this is the correct process and to let Plaintiffs know if the process is
different than what was described in the Meet and Confer. HSD has since verified that Examples
of Proof that are populated on the HUMAD for Trigger #8 are not generated from the static
examples of proof. This trigger contains open text fields for the “Reason for Questionable
Verification” and “Examples of Proof” that will give HSD the information needed (Please return

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one proof for each of the following). During design it was determined that these two fields should
be open text to allow the caseworker to meet the requirements of NMAC 8.100.130.12B(2)-(4), as
well as the ability to be more specific in their request to resolve the questionable, incomplete or
inadequate verification.




   b. Plaintiffs’ counsel noted that the VCL recently provided by HSD was not a comprehensive
   list. HSD stated that the full VCL document is a very large document and they must investigate
   how to make it available to Plaintiffs. HSD did not provide a timeframe for a response. To
   clarify, a single VCL, with examples of proof, does not exist. The parties need to meet to
   discuss the best approach to create this document or complete this review. Plaintiffs are
   concerned that this does not exist because HSD reported that the full VCL was reviewed by a
   literacy expert.

4) Delay Notices: HSD assured Plaintiffs that the Notice of Delay was implemented as of April
   1, 2018 and has been in continuous use since then. The only changes that will be made to the
   Delay Notice will be to incorporate changes regarding verification for unearned income. These
   are the same changes described above that will be made to the HUMAD described above.

5) Emergency Medical Services for Aliens (EMSA) notices: Plaintiffs asked when the NOCA
   will be updated to: 1) include all denial reasons for EMSA, and 2) include a calculation table
   when EMSA applicants are denied for not meeting income requirements. The Department
   informed Plaintiffs’ counsel that it believes the EMSA notices are compliant, and that these
   changes are not necessary at this time. HSD will inform Plaintiffs when a timeline for making
   these changes has been established.



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6) YesNM Online Application and Renewal Literacy Review: HSD’s contract with Insight
   ends on June 30, 2018. By the end of the contract period, Insight will have provided HSD with
   a complete literacy and readability review. Once HSD knows what changes have been
   recommended by Insight, the Department will provide Plaintiffs with a timeframe for when
   the changes will be made and implemented.

7) Worker Manual: The manual that HSD refers to as the “Field Operations Guide” will not
   include program eligibility policy and is, instead, a procedure guide for workers. The
   contractor recommended that HSD create a policy manual. Plaintiffs asked if Defendant would
   move forward with that recommendation. It is Plaintiffs’ position that HSD needs a plain
   language explanation of policy that will help workers understand how policy is to be applied
   and can assist the public in understanding basic eligibility rules. The Secretary explained that
   the Wiki will contain policy information, including serving a single, searchable point of
   reference for policy in the New Mexico Administrative Code (NMAC) and other policy
   memos. The Wiki will also link to the Field Operations Guide, ASPEN information and
   training. The Department stated that it recently completed a “clean up” of its various
   memoranda. Any memoranda that contained outdated or irrelevant information were rescinded
   and others were deleted if obsolete, after substance was incorporated into the NMAC.

8) Churn data: HSD provided Plaintiffs with a handout on “churn” data. The report provides
   data on the number of cases where families experienced a break in services for 1-3 months but
   were issued a benefit in the month following the break regardless of the reason for the break.

9) Emergency Medical Services for Aliens (EMSA) timeliness tracking: The Department is
   currently working with a statistician to determine how EMSA application processing
   timeliness can be measured and reported along with Medicaid timeliness numbers. HSD does
   not currently have a timeframe for providing a final response on when this will be
   accomplished. Plaintiffs also asked for confirmation on whether or not EMSA cases are the
   only cases excluded from overall Medicaid timeliness numbers. HSD agreed to investigate
   whether all Medicaid programs are also included in overall timeliness numbers. The Special
   Master asked to discuss the issue of timeliness tracking with Defendant separately.

10) Presumptive Eligibility (PE) Applications: Presumptive eligibility is a process that allows
    certified workers in hospitals and other community organizations to determine applicants
    eligible for Medicaid based on preliminary information, while a full application is processed.
    In January 2017, the Center for Medicare and Medicaid Services (CMS) found that HSD’s PE
    application: 1) required more information beyond the preliminary information needed for a PE
    eligibility decision, and 2) illegally required applicants to provide a Social Security Number.
    HSD explained that the Department is compliant and that the PE application meets the



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   requirements under federal law. HSD provided confirmation again of its compliance on May
   21, 2018.

11) Auto Closure: HSD reports that the auto-closure was piloted in 11 field offices and that the
    pilot process went well, overall. To the extent any glitches were discovered, they had no effect
    on clients or benefit provision and have since been remedied. Auto-closure went statewide on
    May 31, 2018.

12) ST 005 and ST 007 reports: The ST 005 and ST 007 are the reports generated by HSD that
    list the number of SNAP and Medicaid cases that were closed or denied for specific reasons.
    HSD has been providing these reports on a monthly basis to Plaintiffs. However, the numbers
    identified on the report are duplicated, as a case or application may have up to four denial
    reasons. HSD has provided Plaintiffs with the list of reasons HSD identified as procedural
    closure or denial reasons. These are the reasons HSD uses to determine the number of
    applications and renewals that are closed or denied for procedural reasons as reported in the
    MSR. Plaintiffs requested HSD explain how the MSR reports are generated and how they
    correspond to the ST 005 and 007. HSD committed to checking with its data person to
    determine how this information can be provided and sent a response on May 31, 2018.


13) Phone System: Plaintiffs requested information on how Conduent manages phone capacity
    in the call center. HSD explained that Conduent supervisors place calls daily to make sure that
    there are sufficient lines available for customers. The phone system is organized into four
    “trunks” that overflow to one another when one trunk has reached capacity. Conduent also
    built in a 10% overflow capacity for times of when all four “trunks” are full. If the call center
    exceeds trunk capacity plus overflow capacity, they move to a SIP server system which can
    handle an increase in call volume without reaching capacity. To date, the call center has not
    come close to reaching full capacity.


14) Reformat of data: HSD provided Plaintiffs with a document which lists data the Department
    provides and a proposal to eliminate specific reports for future JSRs. Plaintiffs agreed to
    review the document and get back to HSD with questions, comments and/or concerns but did
    not provide a timeframe for response.


Respectfully submitted,

/s/ Sovereign Hager
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                                CERTIFICATE OF SERVICE


        I hereby certify that on this 4th day of June 2018, I filed the foregoing pleading
electronically with the United States District Court, causing the same to be electronically served
on opposing counsel, Christopher Collins. A copy of the foregoing pleading and this certificate
were also served this day on counsel by emailing a copy to Christopher.Collins@state.nm.us
                                                       /s/ Maria Griego
                                                       Maria Griego




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